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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

NORTHERN DlVlSION
John Doe,
Piaintiff, Case No. iS~cv~00196~GJQ-TPG
v. l-Ion. Gordon J. Quist

Northern Michigan University, Janct Kosl<i,
Donna Beauchaine, in their individual and
official capacities, and Christine Greer, in her
official capacity only, jointly and Severally,

 

Defendants.
/
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DEFENDANTS’ REPLY IN FURTHER SUPPORT OF THEIR M()TI()N TO ]}ISMISS
***ORAL ARGUMENT REQUESTED***

The legal and factual allegations made in a complaint must “raise a right to relief above
the speculative level” in order to survive a motion to dismiss Bell Atlantz'c Corp. v. Twombly,
550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.Zd 929 (2007). The allegations must show “entitlernent
to relief” pursuant to a viable legal theory Id. Here, Plaintiff fails at this most basic task.

I. THE INDIVIDUAL DEFENDANTS ARE- EACH EN'I`ITLED TO QUALIFIED
IMMUNITY.

'l`he individual defendants are each entitled to qualified immunity as to the claims made
against them in their individual capacities Plaintiff has not sufficiently alieged that any of the

individual defendants violated law Which Was clearly established ar the time of the conduct

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alleged. 'l`he case heavily relied upon by Plaintiff for his clairn that his right to procedural due
process Was violated is Doe v. Baum, 903 F. 3d 575 (6th Cir. 2018). Plaintiff relies upon this case
for his contention that he had a right to cross-examine the complainant (Pl. Br., at pg. 15, Doc.
#10, PagelD,Zl l). However, that decision Was not decided until ajler the events alleged in this
case took place. The allegations made against these individual defendants occurred in March
through May 2018. Thc Baum decision Was not issued by the Court of appeals until September 7,
2018. Baum, Supra. Even if this Court Were to decide that under Baum Plaintiff had the right to
cross-examine the complainant as he allegesl, the individual defendants did not violate law that
Was clearly established at the time the conduct accurred by not holding a live hearing and
permitting cross-examination of the complaining Witness. Simmonds v. Gerzesee Cnly., 682 F.3d
438, 443 (6“‘ Cir. 2012). Governmental employees, like the individual defendants here, should
not be held liable for reasonable mistakes of law, fact, or mixed questions of law and fact, While
they are acting Within the scope of the authority granted them by their employment Id. For such
reasonable mistakes in the course of their employment, individuals are qualifiedly immune Id.
Here, the individual defendants Were each acting Within the scope of their employment,
including Defendant Beauchaine, in conducting the investigation into the allegations against
Plaintiff. Plaintiff in this circumstance Was not entitled to a live hearing and opportunity to cross-
examine the complaining Witness. Plaintiff cites to no law (or poiicy) that required he have an
attorney present When criminal charges Were not pending, and especially cites to no law
requiring that he be advised that he could have an attorney present This is because that is not the

law in this Circuit - let alone clearly established laW. Fnrther, there is no requirement that in the

 

l Defendants deny that their conduct violates the standard even as set forth under Baurn, in that
credibility Was not a decisive factor in the decision made here. ln this case, Plaintiff admitted to
the accusations for Which he Was found responsible and Which ultimately led to his expulsion.'

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context of al student disciplinary proceeding that an admission be “l<nowing and voluntary.” See
e.g. U.S. v. Broce, 488 U.s. 563, 109 S. Ct. 757, l02 L.Ed.2d 927 (1989). That is a standard that
applies in a criminal context, Which is not the case here. Plaintiff cites to no case-law Which
supports the requirement of a “knowing and voluntary” admission standard in the context of a
student disciplinary proceeding 'l`he Sixth Circuit has made it clear that “[e]ducation is a
university’s first priority; adjudication of student disputes is, at best, a distant second.” Doe v.
Univ. of Cincinnati, 872 F.3d 393, 400 (Gth Cir. 20l7). For these reasons, and as set forth in
Defendants’ Brief in Support of their Motion, the individual defendants are each entitled to

governmental immunity.

II. PLAINTIFF HAS FAILED TO STATE A CLAIM FOR BREACH OF
CONTRACT OR BREACH OF IMPLIEI) CON'I`RACT.

Plaintiff largely relies on nonprecedential case-law to string together his claim for breach
of contract Plaintiff asks this Court to apply lSt Circuit case-law to a proposed extension of
Michigan state contract iaw. Plaintiff’s reliance on Tapp v. Western Michigan University is
misplaced In that case, plaintiff’s claim for tortious interference with a contract relationship Was
dismissed, and that dismissal upheld The Michigan Court of Appeals even stated that “courts
have rejected a rigid application of contract law in the area of student-university relationships.”
Tapp v. Western Michigan University, l999 WL 33326770 (Mich. App. 1999) (citations
omitted). Further', a trial court rnay only review a university’s action to determine if they Were so
arbitrary and capriciously made as to Warrant the court’s interference Carlton v. Trustees of
Universz`ly of Derroz'f Mercy, 2002 WL 533885 (i\/lich. App. 2002).

Here, as in Carlton and Faparusz`, the unpublished decisions cited by Plaintiff, “the
process afforded to fplaintiff] as a Whole Was largely consistent With that outlined in the

handbook.” Faparusi v. Case Western Reserve Um`v,, 7ll Fed. Appx. 269 (6th Cir. 2017).

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Plaintiff’s allegations contained in the complaint do not give rise to a decisions that was arbitrary
and capricious, but one that was done in accordance With the policies and procedures outlined in
the student handbook. Carlron, supra. Plaintiff has failed to state a viable clairn under any

contract-law theory; and those claims should be dismissed

III. PLAINTIFF’S NEGLIGENCE, NEGLIGENCE PER SE, AND GROSS
NEGLIGENCE CLAIMS ARE EACH BARREI) BY MICHIGAN’S
GOVERNMENTAL TORT LIABILITY ACT.

Plaintiff acknowledges the applicability of Michigan law to his negligence, negligence
per se, and gross negligence claims (Pl. Br. at pg. 24, Doc. #10, PagelD.220), but fails to
acknowledge the applicability of the GTLA. lnstead of providing this Court with precedential
case-law from the state of Michigan applying the GTLA to his negligence and gross-negligence
claims, the Plaintiff cites only to out of state cases, which are wholly inapplicable to the case at
hand. For the reasons set forth in Defendant’s Brief in Support of their l\/iotion, Plaintiff’s

negligence claims are barred by the G'l`LA, and the Defendants are each entitled to dismissal.
IV. CONCLUSION

WHEREFORE, for the reasons stated in this Reply and in Defendants’ Brief in Support
of their Motion to Dismiss, Defendants respectfully request that this Court dismiss Plaintiff’s
Complaint in its entirety, and grant them such other relief as may be just and equitable under the

circumstances

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Respectfully submitted,
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Dated: February l8, 2019

CERTIFICATE OF COMPLIANCE

Pursuant to W.D. L. Civ. R. 7.2(b)(i)-(ii), l hereby certify that this brief , according to the
Word count of the computer program used to prepare this brief (l\/licrosoft Word), contains 1,102

Words (including footnotes).

Respectfully submitted,
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